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ELSTON L STEPHENSON CODE TRICT OF a ONA
P.O. Box 129 “DEPUTY
Grand Canyon, AZ 86023
Case 3:19-cv-08268-DLR
November 27, 2019 .
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TO FERERAL ANDYOR LOCAL RULES AND PRACTICES
AND BS TURJACT TO REJECTION! BY THE COURT.

U.S. District Court Clerk’s Office 7 1leX3)
. EPREEN Le FL
Sandra Day O’Connor U.S. Courthouse, Suite 130 REPERERCE Sot NamheriBeckon)

401 W. Washington Street, SPC 1
Phoenix, AZ 85003-2118

Dear Court,
Please receive and consider this request for EXTENSION/POSTPONEMENT.

Thank You

Sincerely,

Elston L Stephenson

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MICHAEL BAILEY

United States Attorney

District of Arizona
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Assistant U.S. Attorney
Arizona State Bar No, 012581

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Attorneys for United States of America

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF ARIZONA

Elston Stephenson, : CV-19-08268-PCT-DLR
Plaintiff, INTERVENOR UNITED STATES’
MOTION TO DISMISS
Vs. PURSUANT TO RULES 12(b)(1) and
12(b)(6)

Brian Drapeaux,

Defendant.

The United States moves to dismiss Plaintiff's complaint.’ Plaintiff has filed a claim
for injunction against harassment, in which he appears to allege Title VII claims of a hostile
work environment arising from “stalking” by Drapeaux, his supervisor, and/or tortious
conduct by Drapeaux under the Federal Tort Claims Act (FTCA). Plaintiff’s own
pleadings admit that his work dispute allegations are related to claims he has pending

before the Equal Employment Opportunity Commission (EEOC).

! Counsel for the United States has requested authority to continue to represent Defendant

_ Drapeaux but has not yet received it; however, the arguments asserted in the United States’

motion apply equally to Drapeaux’s interests and positions.

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The Court should dismiss for lack of subject matter jurisdiction and failure to state
a claim because the Federal statutes prohibiting discrimination in Federal employment
provide the exclusive remedy for claims of discrimination brought by Federal employees.
Under the Title VII statutes, Federal employees are, required to either exhaust their
administrative remedies or provide timely notice to the EEOC prior to filing suit. Here,
Plaintiff has not alleged either that he properly exhausted his claims or provided notice to
the EEOC of his employment discrimination claims.

Further, to the extent Plaintiff’s allegations can be construed as a tort claim, the |
Court should dismiss for lack of subject matter jurisdiction. The FTCA, 28 U.S.C. §
1346(b), provides a cause of action against the Federal government for persons injured by
the tortious activity of a Federal employee acting within the scope of his office or
employment, Plaintiff has not satisfied the jurisdictional prerequisite to a civil lawsuit
under the FTCA since he never submitted an administrative tort claim with the National
Park Service.

1. Introduction.

Plaintiff filed a Petition for an Injunction against Harassment in a Flagstaff Justice
Court against his supervisor, Brian Drapeaux, Deputy Superintendent, Business
Operations. See Drapeaux Declaration, attached as Exhibit C, at § 1. Plaintiff alleges that
his Supervisor “stalked him.” Plaintiff brought this action after he learned that Drapeaux
had allegedly driven onto Plaintiff’s street in a neighborhood in a Grand Canyon National
Park village to check on whether or not Plaintiff was misusing a government owned vehicle
(GOV). Plaintiff alleges that he has an EEOC claim, alleging “Plaintiff has open formal
EEOC complaint against Defendant which is likely to find [sic] in Plaintiffs favor.” Dkt.
1, at 8.2

2 In connection with these claims, Plaintiff filed an internal complaint with the U.S.
Department of Interior, pursuant to Personnel Bulletin 18-01 (Exhibit A). Internal
complaints pursuant to the Bulletin in Exhibit A can be filed when an employee claims to
be subjected to harassment based on certain protected classification. These often precede
EEOC complaints. The Department found no merit to his Personnel Bulletin complaint.

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Defendant Drapeaux investigated Plaintiff because he had been directed by his own
Supervisor to confirm that Plaintiff was not using the GOV during the time Plaintiff had
been suspended and off duty. Exhibit C, at ]2. Plaintiff had a history of often using the
GOV without checking it out under proper protocols, and taking unapproved leaves of
absences, setting his own work hours and schedule outside his mandated work hours
without pre-authorization, and often using the GOV during these time frames. /d. Plaintiff
would frequently take the GOV off Park land without permission, to run errands to cities
miles away. Id.

Drapeaux also learned that Plaintiff treated the GOV as if it were his own personal
car, in violation of NPS policy. Jd. at 73. He personally saw the GOV at a coffee shop
parking lot an hour away from the Grand Canyon and contacted Plaintiff inside the shop.
Id. Plaintiff claimed to be working, though his duties had ended that day. /d. Drapeaux
determined there was no valid business reason for the GOV to be there. Jd.

The NPS determined that Plaintiff was not accountable for his time and would take
unapproved leave and drive the GOV to various destinations both inside and outside the
Park without alerting anyone of the trips he was taking or their purposes. Jd. at 4. For
instance, Plaintiff often used the GOV when he had no legitimate business reasons,
including taking it home overnight and driving to destinations outside the Park when he
was not on authorized travel. Id.

Investigation of his failure to follow NPS leave procedures and being absent without
leave (AWOL) led to the Park issuing Plaintiff discipline in the form of a three day
suspension. See Exhibit B, Approval of Proposed Suspension, dated July 10, 2019.

Drapeaux thus exercised legitimate managerial oversight over Plaintiff when
Drapeaux checked the whereabouts of the GOV, both during and after the discipline that
Plaintiff received. Plaintiff now characterizes that oversight as “stalking.”

Plaintiff also alleged in his Petition that NPS management interfered with First Aid

classes he taught, when his supervisor limited his use of equipment for the classes and

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when managers attended the classes as part of routine oversight of its employees’ work
related activities, such as Plaintiff's.

II. | Standard of review.

A motion to dismiss under 12(b)(1), F.R.C.P., tests the subject matter jurisdiction
of the Court. Savage v. Glendale Union High Sch., 343 F.3d 1036, 1039-40 (9th Cir.2003).
A Rule 12(b)(1) motion can either attack the sufficiency of the pleadings to establish
federal jurisdiction, or challenge the substance of the jurisdictional allegations despite the
formal sufficiency of the complaint. Thornhill Publ’g Co., Inc. v. Gen’l Tel. & Elecs.
Corp., 594 F.2d 730, 733 (9th Cir.1979). “A court lacks subject matter jurisdiction over a _
claim against the United States if it has not consented to be sued on that claim.” Consejo
de Desarrollo Economico de Mexicali, A.C. v. U.S., 482 F.3d 1157, 1173 (9th Cir.2007).
“Federal courts are courts of limited jurisdiction...It is to be presumed that a cause lies
outside this limited jurisdiction and the burden of establishing the contrary rests upon the |
party asserting jurisdiction.” Kokkonen v. Guardian Life Ins. Co. of Am., 511 U.S. 375,
377 (1994) (citations omitted).

Further, under Rule 12(b)(6), a district court must dismiss the complaint if it fails to
state a claim upon which relief can be granted. A court should grant dismissal pursuant to
Rule 12(b)(6) where there is either a “lack of cognizable legal theory” or “the absence of —
sufficient facts under a cognizable legal theory.” Balistreri.v. Pacifica Police Dep’t, 901

F.2d 696, 699 (9th Cir.1990). That standard “requires more than labels and conclusions,

_and a formulaic recitation of the elements of a cause of action will not do.” Bell Atl. Corp.

v. Twombly, 550 U.S. 544, 555 (2007). Further, Rule 8 “requires a ‘showing,’ rather than
a blanket assertion, of entitlement to relief. Without some factual allegation in the
complaint, it is hard to see how a claimant could satisfy the requirement of providing not
only ‘fair notice’ of the nature of the claim, but also ‘grounds’ on which the claim rests.”
Id. at 556, n. 3. Further, a complaint does not suffice if it tenders “naked assertion[s]”
devoid of “further factual enhancement.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009),
quoting Twombly, 550 U.S. at 557.

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II. ‘ Plaintiff’s claim of work-related harassment should be dismissed.

Plaintiff appears to seek relief for a claim of hostile work environment. He alleges
that he has suffered workplace harassment by Defendant Drapeaux by alleging that
Drapeaux came into his neighborhood and was stalking him. Plaintiff alleges this
harassment is related to his pending EEOC claims. Dkt 1 at 8. However, to establish a
prima facie claim of hostile work environment, a plaintiff must show that (1) he was
subjected to verbal or physical conduct of a racial, national origin, sexual, disability, or
age-based nature; (2) the conduct was unwelcome; and (3) the conduct was sufficiently
severe or pervasive to alter the conditions of employment and create ari abusive work
environment. See Vasquez v. County of Los Angeles, 349 F.3d 634, 642 (9th Cir.2004);
see also Fuller y. City of Oakland, 47 F.3d 1522, 1527 (9th Cir.1995). A hostile work
environment exists only “[w]hen the workplace is permeated with discriminatory
intimidation, ridicule and insult that is sufficiently severe or pervasive to alter the
conditions of the victim’s employment and create an abusive working environment.”
Harris v. Forklift Sys., Inc., 510 U.S. 17, 21 (1993) (quotations and citations omitted). The
courts consistently apply this demanding hostile-work environment standard “to ensure that
Title VII does not become a general civility code,” and to “filter out complaints attacking
the ordinary tribulations of the workplace.” Forager v. City of Boca Raton, 524 U.S. 775,
788 (1998). See also https://www.eeoc.gov/eeoc/index.cfm (EEOC only enforces federal
laws that make it illegal to discriminate against an employee because of the person’s race,
color, religion, sex, national origin, age, disability, genetic information, prior participation
in an employment discrimination investigation or lawsuit, or prior complaint of
discrimination).

Plaintiff’s complaints about what occurred at work after he was disciplined and

suspended do not rise to the level of a hostile work environment as a matter of law.

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Plaintiffs claims merely involve Drapeaux’s legitimate oversight in checking on Plaintiff’s
use of the GOV. Plaintiff had misused the vehicle and received discipline for the misuse,

and Drapeaux was following up to ensure that Plaintiff was not violating the terms of his

discipline.

Though he attempts to relate this to his EEOC claims, Plaintiff’s harassment claims
appear to have no legitimate relationship to discrimination. His request for a restraining
order does not allege that any of defendant’s actions were based on any protected trait. His
vague allegations are thus insufficient to state an actionable hostile work environment
claim. Kortan v. California Youth Authority, 217 F.3d 1104, 1107, 1111 (9th Cir.2000);
Vasquez, 349 F.3d at 642 (finding no race-based hostile work environment where plaintiff
alleged supervisory coworker told plaintiff two racial comments, yelled at plaintiff, made
negative remarks about him to others, and made false complaints about plaintiff); Capristo
y. Brennan, No. C-15-1071 EMC, 2015 WL 4396268, at *5 (N.D. Cal. July 17, 2015)
(dismissing a hostile work environment claim in which the alleged misconduct was one
incident of yelling by a supervisor and plaintiff made no allegations that the verbal
harassment was based on plaintiff’s race or national origin).

Rather, Plaintiff improperly seeks injunctive relief for allegedly irritating or
harassing acts such as Drapeaux coming near his home while he was suspended. Even if
Plaintiff could properly allege a Title VII violation involving a hostile work environment
tantamount to discrimination, no applicable waiver of sovereign immunity permits him to
obtain a restraining order against his supervisor for alleged employment discrimination
through state court civil procedural rules as Plaintiff has attempted with his filing for
injunctive relief. See Lau v. Wong, 2013 WL 2181655 at *1, *6 (plaintiff's FTCA and
Title VII claims were barred, dismissing the plaintiff's request for a restraining order
against her supervisor based on allegations that supervisor ordered her into his office for
unclear reasons, berated her, acted in a belligerent and abusive manner, followed her

around the office, and threw a “reprimand letter” in the direction of her “vaginal area”).

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Plaintiff’s claims are thus precluded by Title VU, and should be dismissed for lack of
subject matter jurisdiction.

Title VII is the exclusive judicial remedy for claims of race, national origin, religion,
or sex discrimination in federal employment and expressly limits a plaintiff's remedies to
those enumerated in the statute. Brown v. Gen. Servs. Admin., 425 U.S. 820, 825 (1976);
42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k); Boyd v. USPS, 752 F.2d 410, 413-14
(9th Cir.1985); 42 U.S.C. § 2000e-16, 42 U.S.C. § 2000e-5(f)-(k). Where a federal
employee asserts a claim under Title VII, that statute is exclusive of any other remedy
against both the federal government and the individual Federal employee alleged to have
participated in the discrimination. White v. Gen. Servs. Admin., 652 F.2d 913, 916-17 (9th
Cir.1981). Accordingly, Plaintiff’s action should be dismissed.

A. Plaintiff's employment discrimination claim is also subject to dismissal for
failure to exhaust administrative remedies.

Even if Plaintiffs allegations were legally viable as a Title VII claim, his
harassment action must be dismissed because. Title VII requires that the federal employee
either exhaust her administrative remedies, or provide notice to the EEOC, as a statutory
precondition to filing suit. Where a plaintiff has not substantially complied with
administrative exhaustion requirements, the federal district court does not have subject
matter jurisdiction to hear a Title VII claim. Leong y. Potter, 347 F.3d 1117, 1122 (9th
Cir.2003); see also Brown, supra, 425 U.S. at 832-33 (Title VID); Lyons v. England, 307 ©
F.3d 1092, 1103 (9th Cir.2002). In this matter, Plaintiff both alleged that he has a
contemporaneous and related EEOC claim against Drapeaux, and also brought a potential
precursor action to this claim. See n.1, supra.

A federal employee seeking to pursue an individual complaint of discrimination
under Title VII must initiate contact with an EEO counselor within 45 days of the allegedly
discriminatory matter. 29 C.F.R. § 1614.105(a). If the matter is not resolved through
counseling, the EEO counselor must inform the complainant of the right to file a formal

complaint. 29 C.F.R. §§ 1614.105(b)(1), (c), (d), 1614.106(b). Once a formal EEO

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complaint has been filed, the Agency has 180 days from the filing date to investigate the
issues raised in the complaint. Only after 180 days have lapsed or the Agency has issued
a final agency decision, whichever is earlier, may the employee pursue a claim in federal
district court. 42 U.S.C. § 2000e-16(c); 29 C.F.R. §§ 1614.107(b). Given that he has failed
to follow this enumerated process, Plaintiff thus cannot obtain a restraining order against
his supervisor for alleged employment discrimination through state civil procedural rules.*

Since Plaintiff has failed to exhaust these administrative remedies, the Court has no
subject matter jurisdiction.

IV.  Plaintiff’s tort claim should be dismissed for lack of subject matter
jurisdiction.

To the extent Plaintiff's request for a restraining order arises from alleged tortious
conduct, Drapeaux enjoys absolute immunity from suit for common law torts committed
within the scope of his Federal employment and should be dismissed. “Absent a waiver,
sovereign immunity shields the Federal Government and its agencies from suit.” FDIC v.
Meyer, 510'U.S. 471, 475 (1994). A waiver of sovereign immunity must be “unequivocally
expressed in statutory text.” Lane v. Pena, 518 U.S. 187, 192 (1996). Under the FTCA,
the United States has waived its immunity from suit for certain torts and in expressly
prescribed circumstances. 28 U.S.C. §§ 1346(b), 2671-2680. The FTCA provides a cause
of action against the federal government for “persons injured by the tortious activity of an

employee of the United States where the employee was ‘acting within the scope of his

3 Finally, under Title VII, the only proper defendant to any claims brought by a Federal
employee is the head of the agency or department. 42 U.S.C. § 2000e-16(c). See e.g.
Johnston v. Home, 875 F.2d 1415, 1419-20 (9th Cir.1989); White, supra, 652 F.2d at 916,
n.4 (Title VII); The Ninth Circuit has “consistently held that Title VII does not provide a
cause of action for damages against supervisors or fellow employees.” Holly D. v.
California Institute of Technology, 339 F.3d 1158, 1179 (9th Cir.2003); Hodge v. Dalton,
107 F.3d 705, 707 (9th Cir.1997) (“The doctrine of sovereign immunity applies to federal
agencies and federal officials acting within their official capacities.”). Thus the only proper
defendant in the Title VII claim would be the Secretary of the Interior, David Bernhardt.
Defendant Drapeaux should be dismissed.

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office or employment...’” Wilson v. Drake, 87 F.3d 1073, 1076 (9th Cir. 1996) (quoting

28 US.C.§ 1346(b)).

The FTCA provides a limited waiver of sovereign immunity. 28 U.S.C § 2675(a).
A district court has no subject matter jurisdiction over an FTCA claim unless the plaintiff
has first presented a claim to the appropriate agency, and either (1) the claim was “finally
denied” in writing, or (2) six months have passed since the claim was submitted. 28 U.S.C.
§ 2675(a). The claim requirement is jurisdictional in nature and cannot be waived. McNeil
v. U.S., 508 U.S. 106, 11-12 (1993); Burns v. U.S., 764 F.2d 722, 723 (9th Cir.1985). The
plaintiff in an action seeking relief under the FTCA has the burden of pleading and proving
that she complied with the FTCA’s administrative claim presentment requirement. See
Bruce v. U.S., 621 F.2d 914, 918 (8th Cir.1980). Because plaintiff cannot show that he

exhausted administrative remedies for his potential tort claim, the Court lacks subject

matter jurisdiction.

Further, the Federal Employees Liability Reform and Tort Compensation Act of
1988 provides that the FTCA is the exclusive remedy for tortious acts and omissions
committed by Federal employees acting within the scope of their employment, and
precludes other civil actions that arise out of such acts or omissions, See 28 U.S.C. §
2679(b)(1).

Conclusion

As discussed above, no applicable waiver of sovereign immunity permits a

restraining order against Plaintiff's supervisor. As the court stated in Andrejko. v. Sanders,

638 F.Supp. 449, 452 (M.D.1986):

Clearly there is a federal interest here. One can easily imagine the disruption that
might occur in federal work places if federal employees were allowed to lodge and
maintain state tort claims against any superior with whom they had an axe to grind.
The resultant wave of litigation might well impair the ability of the various federal
agencies to function efficiently.

See also Lau, supra, at *6 (“to allow [plaintiff’s] claims to proceed now would be to allow

her to ‘circumvent the EEOC’s investigatory and conciliatory role, as well as deprive the

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charged party of notice of the charge.”) Plaintiff should not be allowed to violate this
public policy, or be allowed to avoid exhausting his claims, whether under Title. VII or the
FTCA.

Accordingly, the entire action should be dismissed.

RESPECTFULLY SUBMITTED this 14th day of November 2019.

MICHAEL BAILEY
United States Attorney
District of Arizona

s/Laurence G. Tinsley, Jr.
Laurence G. Tinsley, Jr.
Assistant U.S. Attorney

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CERTIFICATE OF SERVICE

I hereby certify that on November 14, 2019, I electronically transmitted the attached
document to the Clerk's Office using the CM/ECF System for filing and served a copy, via
first-class mail, postage prepaid, of the document to the following recipient who is not a

CM/ECF registrant:

Elston LeMans Stephenson
P.O. Box 129

Grand Canyon, AZ 86023
Plaintiff

s/Irene Millsaps
U.S. Attomey’s Office

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Elston L Stephenson
P.O. Box 129
Grand Canyon, AZ 86023
Case 3:19-cv-08268-DLR
U.S. District Court Clerk’s Office November 27, 2019
Sandra Day O’Connor U.S. Courthouse, Suite 130
401 W. Washington Street, SPC 1
Phoenix, AZ 85003-2118

Dear Court,
Please receive and consider this request for Extension/Postponement.

Thank You

Sincerely,

Elston L Stephenson

REQUEST FOR EXTENSION

Your Honor, respectfully, | seek a 30-day Extension in this case in order to secure professional legal counsel.

Your Honor, this case meets elements (1)(A)(i)(ii) and (2)(A)(B) of 18USC §2261A and is ripe for a fair hearing
before a Finder of Fact.

There is a prima facie. In the Motion-to-Dismiss and ‘other instances’ Defendant and others admit to at least
(2)(B) “place under surveillance”. Plaintiff is a (1)(A)(i)/(1)(A)(ii) “person and family [placed] in reasonable
fear”...(1)(B) “caused [by]” Defendant’s (2) “surveillance”. Plaintiff asserts at least that Defendant’s actions
(1)(B) “caused, attempted to cause, or would be reasonably expected to cause substantial emotional distress
to a person in clauses (i) and (ii) of subparagraph (A) and (2) “with [at least] the intent to harass, intimidate,
and place under surveillance with intent to [at least] harass or intimidate another person used [at least]
computer service or electronic communication service or electronic communication system...to engage in a
course of conduct that [at least] (B) “causes , attempts to cause, or would be reasonably expected to cause
substantial emotional distress to a person described in clauses (i) and (ii) of paragraph (1)(A).

This is a question and controversy for Finder of Fact.
The Court will also discover that there are compelling interests that this case should see its day in court.

While the decision before the Court at this stage is the Motion-to-Dismiss it is hoped that the Court considers
the information below a measure of the merit to seeing this case through to verdict.
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Evidence such as the key witness statement regarding not only the stalking incident but also the hostility and
attacks on Plaintiff by Defendant and others in retaliation for Whistleblowing and reporting potentially
deadly safety hazards demonstrates the risk of harm to Plaintiff by the Defendant.

This case—this Court is the only jurisdiction for immediately stopping the stalking and protect Plaintiff.

Whistleblower complaints sent directly to two Secretaries of Interior, two DOI Inspectors General, and two
Directors of the National Park Service include 18+ years of uranium exposure of workers and the public at
Grand Canyon National Park (GRCA), attempts to cover it up (secret pacts), other life-threatening health
hazards, worker intimidation, specific instances of fraud, and peddling in false statements and falsified official
documents by senior-most GRCA Park officials. This includes the most recent submitting of knowingly __
falsified official statements and creating and submitting knowingly falsified official documents to OSHA on
June 19, 2019 in an attempt to fraudulently defeat OSHA citations issued in the uranium case.

The Court will notice that as a non-lawyer ‘pro se’ | am greatly out matched by facing off against not only the
Department of Justice U.S. Attorney’s Office, but the Department of the Interior Solicitor’s Office as well. This
is an overwhelmingly one-sided legal fight.

In the interest of justice and fairness, | respectfully ask that the Court postpones the Plaintiff
response/opposition deadline to the U.S. Attorney’s Office’s Motion-to-Dismiss for 30 days so that | may
secure professional legal counsel.

POINT OF LAW/CONTROVERSY

, “i

Government's “appears to allege Title Vil claims of a hostile work environment arising from “stalking” by
[Defendant]” reflects a belated third-party entry and is contradicted by not only facts but DOI and NPS’
immediate and contemporaneous actions upon notification of Defendant’s stalking actions.

“Appears” is not a legal standard. The facts of DOI and NPS’ immediate response are dispositive and not in
dispute.

Plaintiff did not file and EEO action in this instance, DO! did not file an EEO response. Government’s EEO .
inference is Government’s alone, conflicts with evidence, conflicts with the response of other Divisions in the
Attorney General’s Office (Exhibit E-1), and is without a client.

Exhibit C demonstrates that in addition to the 18USC §2261A prima facie case, question, and controversy

being ripe for Finder of Fact listed above; my July 25, 2019 notification to NPS and DOI Headquarters was

entitled “URGENT : Need Help Getting Safe Space Away from [Defendant]”. | mention safety concerns

throughout (in writing and in person). | never mentioned race. Nor does the responding GRCA
Superintendent. This is a stalking case.

Exhibit E-1 the Court will find is an Assistant U.S. Attorney detailing my outreach to U.S. Attorney’s Office to
report the ‘secret pact’ and the hiding of the uranium readings, the refusal to notify workers and the public
(violation of ‘Right to Know’). Clearly, the AUSA notes my complaint of retaliation for coming forward about
the uranium and other safety issues—not Title Vil.

While it is true that | have an ongoing EEOC case; these are separate and distinct. | would insist on stopping
stalking and other harassing, retaliatory attacks regardless of the adjudication of the EEOC case.
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Further, evidence will also show that Plaintiff and Defendant have met 1-on-1 only once for 30 minutes in the
last 1 % years. Other than the reported stalking, witnesses will confirm that Defendant has only been seen
once in at least 2 years on Plaintiff’s residential street. Defendant has been removed as Plaintiff's supervisor
as a result of this escalation in harassment on August 27, 2019. These have resulted in no impairment to Park
function or its administration. Government’s professed concerns otherwise in its Motion are unfounded.

What’s more; Government’s Thornbill assertion is predicated on Defendant acting in a legitimate government
capacity. Plaintiff asserts that stalking is not a legitimate government capacity. Stalking under the ‘color of
authority’ is not legitimate capacity. And Defendant may have perjured himself when he stated in the Motion
that “he had been directed by his own supervisor”. This is based on the Supervisor’s own contemporaneously
filing the 16E Complaint against Defendant upon notification of his stalking.

With professional counsel | will demonstrate to the Court that contrary to Government's assertion; this is a
stalking case. Similar to Saldana, Schaeffer, and Letterman, Defendant’s time and energy spent on planning,
targeting me, and executing—over two years demonstrates what can only be describe as a dangerous
fixation and obsession fitting a tragic pattern. This is precisely the type of case (similar to Saldana, Schaeffer,
and Letterman) for which 2261A was written and whose only remedy begins with a Court ordered Injunction
Against Harassment.

Likewise, U.S. Attorney’s recent expression that ‘It can’t be a safety issue because time has passed and he
hasn’t done anything else, has he?’ holds no merit as Defendant has been very publicly chastened and all
eyes are on him. Like any violator he will repeat when he believes he has ‘gotten away with it’.

Luckily, Defendant was caught by an NPS employee (witness) working in the area (Exhibit A). No one can
assure the Court that this was the only time or whether Defendant (who has access to keys) entered
Plaintiff's home, or whether he confined himself to only peering through windows in the day or the night.
Indeed, Defendant lists coming to work in the dark of 5:30 am as a reason for suspending Plaintiff. Admitting
that he was either watching, tracking, or surveilling Plaintiff in the forest at these dark morning hours.

Subpoenaing and deposing DOI and NPS witnesses (current and former) at all levels before this Court will
firmly demonstrate the predicate, motivation, and pattern of attempts to harm Plaintiff culminating in
Defendant stalking Plaintiff's home. Once caught Defendant—with no formal training as a detective or law
enforcement claimed to be staking out Plaintiff's home approved by the Superintendent even though the
Superintendent immediately filed a DOI/NPS 16E complaint and investigation once notified of the stalking.
Again these can all be sussed out by subpoenaing and deposing DOI and NPS witnesses.

Subpoenaing and deposing is something that this non-lawyer, pro-se, Plaintiff does not know how to do.

In the end, Title VII is a years-long process which does not provide for the immediate safety for the stalked.
This Court is the only venue to impose the immediate legally enforceable safety provided by Injunction/
restraining order.

The EEOC is inarguably not equipped to answer the 18USC §2261A question.

With respect to Extension/Postponement; it is abundantly clear that this non-lawyer, pro-se, Plaintiff is the
David versus the DOJ U.S. Attorney’s Office plus DOI Solicitor’s Office Goliath. The Courts are “The Great
Levelers”.

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PERJURY BEFORE THIS COURT

Your Honor, having professional legal counsel will help me best demonstrate Defendant is guilty of multiple
instances of perjury before this Court.

The Court will find that the U.S. Attorney has unwittingly filed a Motion which is founded upon materially
knowingly falsified statements by Defendant which may well constitute perjury. Upon discovery, Plaintiff duly
notified the U.S. Attorney’s Office on November 19, 2019.

Plaintiff warned the U.S. Attorney of Defendant’s long, demonstrated fragile, fluid, and transactional
relationship with the truth in advance.

Perjury alone should be call into question the entire Motion and should be reason to ‘Deny’.
If Defendant had a case, he would not have attempted to defraud the Court by repeatedly lying.

Exhibit F will demonstrate to the Court a few easily provable instances where Defendant submitted
materially knowingly falsified statements to the Court in order to defraud the Court.

Plaintiff respectfully asks that the Court rigorously examine Government’s (Defendant’s) claims. Principally
Defendant states that he was stalking Plaintiff's home (Plaintiff was not home) to see if Plaintiff was using his
government vehicle on his off hours.'In Defendant’s recently contrived IG complaint he complained that
Plaintiff misused his government vehicle by taking it home. If this were true why didn’t Defendant (a GRCA
Superintendent) simply order that the vehicle be not kept at the home? Exhibit M shows that when
Plaintiff—brand new to the NPS and viewing several government vehicles in his neighborhood made the
assumption based on the ‘at all hours’ response nature of his job; it made sense to bring his vehicle home.
And when Plaintiff (brand new to NPS) asked Superintendent 2 (28 years in NPS) for a memo clearing Plaintiff
to take vehicle home, Superintendent 2 did not know what the rules were. It took the 28-year
Superintendent nearly 2 weeks to research and find the answer.

Defendant knew—everyone knew that Plaintiff brought his vehicle home—from the very moment he took
possession of the vehicle more than 2 years earlier. If Defendant was truly concerned about these rules, he
would have counseled Plaintiff, and documented it. Respectfully, Court should insist on that documentation.
It does not exist because Defendant was ‘saving it up’ to use later.

Defendant testifies (in Motion) that he stopped at a coffee shop 1 hour away from Grand Canyon and
confronted Plaintiff about the vehicle. The Court will find that there is nothing but mountains 1 hour outside
Grand Canyon. Respectfully, Court should insist on the name of the coffee shop and the date along with the
documentation.

Defendant testifies (in Motion) that Plaintiff set his own hours and was difficult to find. If true, this sounds
like a classic the verbal, written, disciplinary action case. Court should insist on the documentation.

Defendant testifies that he was stalking Plaintiff's home with Superintendent’s approval. Court may examine
Superintendent’s actions—immediately filing a 16E upon notification of Defendant’s stalking. He would not
have done this if he had approved of Defendant’s stalking at Plaintiff's home. Court may insist on
documentation. Superintendent 2 should be subpoenaed, diposed, and examined as a witness.
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Defendant did not correct/address the vehicle situation after more than 2 years because he was ‘saving it up’
for the IG complaint. The other instances did not happen or Defendant would have documentation. These
are knowingly falsified testimony. Perjury.

Defendant was stalking Plaintiffs home because he meant harm (digging up dirt, spying on, perhaps entering
the home) to Plaintiff.

Again, these are just a few instances in the very brief Motion packed with so much knowingly falsified
testimony that the Motion should be thrown out.

PERJURY-FRAUD HABIT/PERJURY-FRAUD CULTURE

Plaintiff (a retired senior military officer) arrived to NPS to find and resist a relentless culture of falsifying
statements, documents, and fraud. This included pressure by Defendant to knowingly process fraudulent tort
claims. (Exhibit N). Defendant even lied about the death of a Park visitor (Exhibit K).

Exhibits C, D, D-2, F, G,H, |, J, K, and N will demonstrate that peddling in falsified statements and creating
knowingly falsified documents—fraud is a pattern and near-ethos of Defendant, and a GRCA, IMR, NPS/DOI
culture where Superintendents are given deferential, impunity and whose actions are unquestioned.

Exhibit C demonstrates that the once the GRCA Superintendent and NPS Intermountain Region Headquarters
realized that a thorough 16E investigation would have cataloged evidence and extent of Defendant’s stalking;
no witnesses were interviewed a more than a month later. No attempts were made to follow-up even though -
Plaintiff ‘pushed’ documents and evidence their way. The GRCA Superintendent and IMR essentially ‘faked’
the 16E in order to avoid documenting Defendant’s guilt. DOI/NPS’ failures and fraud necessitated going to
court and filing for an Injunction Against Harassment.

Exhibit K documents falsified statements and documents to the DO! Chief Medical Officer regarding poorly
maintained and discontinued AEDs. The DOI Chief Medical Officer was so concerned by the danger to health
and liability of visitors and workers that she recommended pulling all public AEDs from the walls of Grand
Canyon National Park. The fraud was intended to change her mind.

Exhibit J demonstrates how the same GRCA Superintendent submitted falsified official statements and even
went through the effort of creating falsified worksheets to fool—defraud OSHA into believing it had
accomplished training in order to fraudulently defeat an OSHA citation on June 19, 2019. Because the
documents were sent via mail or email, it invokes felony mail and wire fraud. If there are others; conspiracy.

Respectfully, the Court may order U.S. Attorney to pursue this latest, warm Agency to Agency felony fraud.

A check of the Exhibits will show that Plaintiff reported all instances of fraud directly to the Secretary(s) of
the Interior and DOI Inspectors General.

The integrity of the Court may demand some sanction such as summarily denying the Motion-to-Dismiss as
the Motion is rife with deliberately falsified statements by Defendant. This should offend the Court.
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RETALIATION/INTIMIDATION

Evidence—DOI IG’s Report 18-1188 (Exhibits G and H) will show that Defendant began targeting Plaintiff
from the moment he became Plaintiff's supervisor in September 2017.

Evidence will also show that workers were intimidated in to silence regarding the uranium.

In Exhibit D-1 Plaintiff clearly expresses his fear of retaliation to the Secretary of the Interior and invokes that
this was a Whistleblower Law complaint with all its protections.

Evidence will also show that rather than legitimately and contemporaneously addressing issues such as
taking the work vehicle home (something Plaintiff noted others doing upon his arrival at GRCA and began
doing 2 years ago) Defendant ‘saved them up’ to be used as fodder for bogus IG complaints. This fits the
modus operandi he used against the previous GRCA Superintendent 1—often recruiting others to participate
as ‘witnesses’. As a demonstration of the lengths Defendant would go through; Plaintiff has been targeted in
this way 4 or 5 times since reporting the uranium and other potentially deadly hazards. Defendant is
suspected of recruiting witnesses just as he did in his contrived IG complaint (DOI IG 18-1188) against the
former GRCA Superintendent and several times before that (Exhibit L). Evidence will show that | spoke with
her attorney after reading about the reasons (Defendant targeting her with bogus |G complaints) in an
Outside Magazine Online article (Reference 3). | was forewarned that Defendant would do the same with me.
Modus operandi.

Evidence (Exhibit B) lists ‘prior acts’ which include Defendant inspiring others to stalk Plaintiff and others
such that they caused an American Heart Association contract First Aid CPR instructor to be so fearful for her
safety that she brought along a former U.S. Army Ranger, a gun, and a Taser to protect herself as she
provided Grand Canyon life-saving training. All of this is in an environment where Plaintiff's office building
was recently placed under lock-down because of workplace violence, and a discharge of a firearm at GRCA’s
Flagstaff office.

Evidence will show that Defendant intensified his actions of stalking, reconnaissance, and tracking only
intensified when Plaintiff notified him that he was going to Phoenix to meet with OSHA and the U.S.
Attorney’s Office to report the lawbreaking. Along with attempting to force Plaintiff to reveal ‘Protected
Communications’. Workers were intimidated into silence with OSHA and other Agencies. (Exhibit O)

WEAPONIZING IG and OTHER INVESTIGATIONS

The Court will find Exhibit G and H instructive as the DOI Inspector General herself documented Defendant's
modus operandi of outright lying, weaponizing IG (and other) investigations when the heat was on, then say
‘aw my mistake’ when he is finally caught. Exhibit H demonstrates Defendant's falsified sworn statement to
EEO investigators about the same subject. Exhibit G-2 shows how Plaintiff kept his head down and worked so
missed the Report’s release. Plaintiff did not read the report until July 4, 2019. A contemporaneous text to a
colleague traces this.

In Exhibit G-1 Defendant admits to filing multiple IG complaints against the former GRCA Superintendent.
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When Plaintiff was informed of Defendant’s stalking, he went door-to-door to neighbors to ask them to be
on the lookout as he would be away for extended time. The neighbor across the street (a maintenance
worker) informed Plaintiff that Defendant out of nowhere contacted him and repeatedly attempted to get
him to provide negative information about the Superintendent regarding a housing project which was the
subject of one of Defendant’s IG complaints against the Superintendent in DOI IG Complaint 18-1188. This
active recruiting of witnesses and pressing for information to help his cause is another modus operandi that
Defendant would repeat.

In the vehicle IG complaint and investigation investigators presented the names of ‘witnesses’ for events that
had allegedly taken place nearly 2 years earlier. The witnesses named had long since either moved or were

working at other parks. It was clear that they did not spontaneously call the IG 2 years later. Examination will
likely determine that Defendant dropped their names in order to make his ‘complaint’ seem more legitimate.

it is highly unusual and suspicious for a supervisor—let alone a Deputy Superintendent to file an IG complaint
against their subordinate rather than take supervisor or Superintendent action.

Evidence will show that Plaintiff contacted targeted Superintendent’s lawyer after reading the Outside
Magazine Online article (Reference 3) to discuss Defendant’s modus operandi and was convinced that the
same was happening to him. Plaintiff re-examined the instances that he was hauled before IG investigators
and the pattern was proved.

Examination of the 4 or 5 other complaints/investigation will likely find that Defendant either recruited
others or provided the list of ‘witnesses’ to the IG, or recruited them to file IG complaints.

In the ‘uranium investigation’, Plaintiff was the only witness voice recorded by the DOI/NPS investigation
team. The team seemed tasked with finding negative information about Plaintiff. This was a conspicuous part
of their ‘Report’. This so-called scientific report appeared designed more to repudiate Plaintiff than provide
scientifically sound information. Examination will likely find that Defendant provided them the witness list
for the targeting phase of this ‘investigation’.

Exhibit G-3 shows the current ‘investigation’ targeting Plaintiff apparently manipulated by Defendant.

These multiple instances of weaponizing the Inspector General complaint and investigation process went
undetected by the Department of the Interior Inspector General. Defendant’s manipulation and
weaponization of the IG complaint system was the primary reason cited by the former Grand Canyon
National Park Superintendent 1 in the Outside Magazine article (Reference 3). .

While Plaintiff was investigated by the IG for parking in a fire zone, no IG investigation or report has been
issued regarding the uranium incident. This alone is worthy of Congressional Hearings.

These are among the reasons that Plaintiff seeks an Injunction Against Harassment against Defendant.

WHISTLEBLOWING

Each time that Plaintiff discovered potential loss of life situations he immediately brought them to the GRCA
Superintendent. When the Superintendent failed or refused to take action Plaintiff alerted the Secretary of
the interior and DO! Inspector General directly. These were all Whistleblower Complaints.

The uranium (Exhibit D, D-1) and the falsified AEDs (Exhibit K) documents were the most notable.
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In Exhibit D-1 Plaintiff—clearly worried about retaliation explicitly wrote his concerns and clearly and
explicitly insisted to the Secretary of the Interior that he was invoking Whistleblower Complaint protections.

Yet Plaintiff was never contacted by the IG for follow-up about the ‘secret pact’, refusal to notify workers in
violation of the Right-to-Know Law, attempts to hide the uranium readings, or the doctored report by IMR
Regional Headquarters.

No statement addressing the dangerously high radiation in the IMR report and the dangers those levels
posed is ever mentioned in the ‘Report’.

No answer was ever given to the falsified AED inspection reports even though the DOI Chief Medical officer
was so alarmed that had recommended the dangerous program be ripped off the walls and boxed up (Exhibit
K). This appears nowhere in the ‘Report’. Plaintiff documented 13 dead AEDs. Report mentions only five.

Plaintiff was concerned that the ‘Report’ issued by DOI/NPS in the wake of the uranium episode was a PR
document timed (delayed) to run out the statute of limitations for civil litigation rather than a scientifically
rigorous review to assure the safety and health of exposed GRCA workers and public.

Allowing Plaintiff to retain professional jegal counsel will allow Plaintiff to demonstrate that retaliation for
Plaintiff's thoroughness and persistence is the reason Plaintiff has been ‘investigated’ so many times since
first reporting the uranium and AEDs. It is the reason Defendant was stalking Plaintiff's home.

Along with the manipulation and weaponization of the IG complaint system, this campaign of Whistleblower
retaliation is also ripe for Congressional Hearings.

Respectfully, however, the matter most important to Plaintiff is his and his family’s safety and stopping the
stalking—the matter before this Court.

CLOSE

Your Honor, it is my hope that the Court will see that as a former U.S. Army field-grade officer, attack
helicopter pilot, and leader; matters of integrity and duty are almost second nature. But | am ill-equipped to
self-represent against a team of U.S. Attorney’s Office and DO! Solicitor’s Office lawyers and their staffs.

With proper counsel | will be able, for instance, to professionally make the case that Defendant’s perjury
should result in summary Denial of the Motion-to-Dismiss as well as result in sanctions-and diminished
credibility in all matters before this or any other Court.

Most importantly, subpoenaing and deposing DOI and NPS witnesses is both vital to justice and beyond my
non-lawyer, pro-se ability.

This case has compelling interests with widespread implications such as the rights of workers in co-located
work/living arrangements (such as National Parks), and the division between legitimate duties of employees
and illegitimate law breaking (18USC §2261A) under the color of ‘legitimate duties’.

It is hoped that the material above has demonstrated to the Court that Defendant has targeted Plaintiff from
the very first instance that Defendant was designated Plaintiff's supervisor. And that Plaintiff repeatedly
resisted Defendant’s attempts to implicate and draw him in to Defendant’s frauds. Most importantly,
Defendant has expended an extraordinary amount of time and energy plotting, collaborating, and executing

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plots to harm me as | went about doing my job of finding, reporting, and fixing potentially life threatening
dangers in the Park. But a bold line of danger was crossed when Defendant took his desire to harm me to my
home.

This sense of impunity to harm me is only matched by the impunity with which Defendant felt when he
peddled materially knowingly falsified evidence (testimony) to the U.S. Attorney and to this Court.

It is my hope that the Court agrees that although this question before the Court is the narrow Injunction,
Against Harassment, this case is to be followed by litigation of the other issues such as fraud. The uranium
‘secret pact’, the violations of ‘Right to Know’ were fraud, faking the 16E, the falsified OSHA submissions
were fraud—all of them likely felony fraud/conspiracy. | would not go along. This is why Defendant was
stalking me. He was up to no good. He meant me harm. Once | obtain counsel, examination will prove these
assertions. Respectfully, the most pressing concern is our safety—the matter before this court at this time,
your Honor. .

Changes to my life such as closing the blinds to my windows when I’m in a room, turning out the lights before
entering a room so as to not silhouetting myself, varying my driving route, my young daughter never coming
here are all a result of Defendant’s stalking and harassing.

DOI/NPS’ most recent (November 21, 2019) attempts to dictate and impose what it thinks my case
preparation rations should be (Exhibit P), remoteness of Grand Canyon National Park requiring 1 % hours
drive to the nearest reliable Post Office, and GRCA P.O. Box mail sorting (taking 12 days to receive court
documents) compared to near co-location of Government to the Court its e-filing privileges all also beg for
professional legal representation in the name of leveling the playing field and basic fairness.

A 30-day Extension/Postponement will allow an opportunity to adequately present the Finder of Fact the
facts in a manner consistent with justice based on the law and fairness.

Thank You, Your Honor.

Respectfully Submitted,

6b | Zoe a>

on, OHST
Safety Health & Wellness Manager
Tort Claims Officer
Grand Canyon National Park
928-255-8727

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EXHIBIT LIST

Exhibit A — Stalking Witness Audio Recording (MP4 audio file thumb drive)

Exhibit B — PowerPoint Briefer, Injunction Against Harassment

Exhibit C — DOI/NPS 16E Filing and Correspondence

Exhibit D — Original Uranium Whistleblower Letter (Secretary Zinke, Bernhardt, IG Kendall)

Exhibit D-1 Follow-Up Whistleblower Letter (Secretary Zinke, Bernhardt, IG Kendall)

Exhibit D-2 Doctored Uranium Report

Exhibit D-3 Un-Doctored Uranium Report

Exhibit E — U.S. Attorney Referral of Emails to ‘Criminal Division’

Exhibit E-1 U.S. Attorney Documentation of Investigation

Exhibit F — Notification of Defendant Perjury to U.S. Attorney

Exhibit G —- DOI IG Report 18-1188

Exhibit G-1 Defendant Admitting to Multiple |G Complaints v. Superintendent

Exhibit G-2 Text of Plaintiff First Reading of IG Complaint 18-1188 and Realizing He is “Senior Official’s
Subordinate”

Exhibit G-3 HR Request for ‘Interview’ and Reaction to ‘Witness’ List Disclosure

Exhibit H — DOI IG Report 18-1188 Excerpt Defendant False Statements to EEO Investigator

Exhibit | — EEO Agreement Violation Decision Defendant False Statements, Falsified Documents

Exhibit J -GRCA Falsified OSHA Citation Response

Exhibit K — Falsified Statement GRCA to DOI AEDs

Exhibit L— Defendant Admitting to Weaponizing Multiple IG Complaints Against GRCA Superintendent

Exhibit M — Request to Superintendent for GOV to Home Use

Exhibit N.— Fraudulent Tort Claim

Exhibit O ~ Defendant Forcing Plaintiff to Reveal Protected Communications/Intimidating Workers into
Silence

Exhibit P — DOI/NPS Dictating Plaintiff's Preparation

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